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             NOT YET SCHEDULED FOR ORAL ARGUMENT

               United States Court of Appeals
             for the District of Columbia Circuit

                                 No. 22-7063


AMERICAN SOCIETY FOR TESTING AND MATERIALS; NATIONAL FIRE
PROTECTION ASSOCIATION, INC.; AMERICAN SOCIETY OF HEATING,
   REFRIGERATING, AND AIR-CONDITIONING ENGINEERS, INC.,
                                                     Plaintiffs-Appellants,
                                        v.
                       PUBLIC.RESOURCE.ORG, INC.,
                                                     Defendant-Appellee.
                      ––––––––––––––––––––––––––––––
                        THE COPYRIGHT ALLIANCE,
                                                     Amicus Curiae for Appellant.
   On Appeal from the United States District Court for the District of Columbia
            in No. 1:13-cv-1215-TSC, Honorable Tanya S. Chutkan

 AMICUS CURIAE BRIEF OF COPYRIGHT ALLIANCE
    IN SUPPORT OF PLAINTIFFS-APPELLANTS


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 October 28, 2022
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    CERTIFICATE AS TO PARTIES, RULINGS & RELATED CASES

  Pursuant to Circuit Rule 28(a)(1), amici curiae certify as following:

  (A)   Parties and Amici. In addition to the parties, intervenors, and amici

  appearing before the district court and in this court that are listed in the Brief

  for Plaintiffs-Appellants, filed September 23, 2022, and any amicus briefs

  filed prior to this one, the following amici curiae appear via this brief:

        Copyright Alliance

  (B)   Rulings Under Review. References to the rulings at issue appear in the

  Brief for Plaintiffs-Appellants filed September 23, 2022.

  (C)   Related Cases. This case was previously before this Court in No. 17-

  7035. To the knowledge of counsel, other than any cases listed in the Brief for

  Plaintiffs-Appellants filed September 23, 2022, there are no other related

  cases currently pending in this Court or in any other court.

  Dated:       New York, New York
               October 28, 2022
                                           /s/ Nancy E. Wolff
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               CORPORATE DISCLOSURE STATEMENT

        Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure,

  amicus curiae the Copyright Alliance states that it does not have a parent

  corporation, and that no publicly held corporation owns 10% or more of

  amicus’s stock.




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        Pursuant to Federal Rule of Appellate Procedure 29(a), amicus curiae

  the Copyright Alliance respectfully submits this brief in support of appellants

  the American Society for Testing and Materials (“ASTM”), National Fire

  Protection Association, Inc. (“NFPA”), and American Society of Heating,

  Refrigerating, and Air-Conditioning Engineers (“ASHRAE”) (collectively,

  “Appellants”). This brief is submitted with consent by the parties.1

                      INTEREST OF AMICUS CURIAE

        The Copyright Alliance is dedicated to promoting and protecting the

  ability of creative professionals to earn a living from their creativity. It is a

  nonprofit, nonpartisan 501(c)(4) public interest and educational organization

  and represents the copyright interests of over 2 million individual creators and

  over 15,000 organizations across the entire spectrum of creative industries,

  including authors, songwriters, musical composers and recording artists,

  graphic and visual artists, photographers, journalists, documentarians,

  television and filmmakers, and software developers. The Copyright Alliance’s

  membership encompasses these individual creators and innovators, creative



  1
   Pursuant to Federal Rule of Appellate Procedure 29(c)(5), no counsel for any
  party authored this brief in whole or in part, and no party or counsel for any
  party made a monetary contribution intended to fund the preparation or
  submission of this brief. Only amicus curiae made such a monetary
  contribution. Some Copyright Alliance members are, or are affiliates of,
  Appellants in this matter.
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  union workers, and small businesses in the creative industry, as well as the

  organizations and corporations that support and invest in them. The

  livelihoods of this diverse array of creators and companies depend on the

  exclusive rights guaranteed by copyright law.

        The Copyright Alliance’s members rely heavily on copyright law to

  protect and commercialize their works, which in turn incentivizes the creation

  of new works and promotes the progress of the arts. The Copyright Alliance

  and its members have a strong interest in the proper application of copyright

  law, including with respect to appellee Public.Resource.Org, Inc.’s

  (“Appellee”) practice of copying and distributing—for free—Appellants’

  copyrighted works in their entireties on Appellee’s website without

  authorization. While it is clear that Appellee’s infringing activity causes harm

  to the existing and potential markets for Appellants’ works (particularly hard

  copy and printable and downloadable PDF copies of the standards they

  create), any expansion of the practice by Appellee or other parties, whether to

  other standards or different copyrighted works, would cause widespread harm

  to many other creative professionals and undermine the very purpose of

  copyright.

        The Copyright Alliance submits this amicus brief in support of

  Appellants to highlight the reasons that dictate a rejection of the manufactured

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   carve-out from copyright protection that Appellee advances in defense of its

   unauthorized reproduction and distribution of full versions of copyright

   protected works. Allowing a private party like Appellee to manufacture

   exceptions to copyright law threatens not only print works like those created

   and sold by Appellants, but potentially all other types of copyrighted works,

   creative professionals, and creative industries. Indeed, only Congress—not

   private litigants or even the courts—is empowered to create such exceptions.

         The Copyright Alliance supports making federal, state, and local

   laws—including privately-authored standards that become governing law—

   freely accessible to the public and would not support any policy that would

   restrict access to the law. However, Appellee’s approach short circuits the

   process by which politically accountable bodies determine how to best

   implement free access to the law. Permitting any organization, such as

   Appellee, to wholesale copy and distribute for free scanned versions of

   Appellants’ copyrighted works to any user anywhere, without license or

   authorization, would strip creators and copyright owners of their statutory

   rights to commercialize and control their works and upend the balance

   established by Congress in setting the metes and bounds of copyright

   protection under the Copyright Act.




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                      SUMMARY OF THE ARGUMENT

         Appellants create vital works in the form of written standards guides,

   manuals, and procedural documents that inform issues of public health and

   safety and promote industry regulations and best practices for many critical

   professions from firefighters to electricians, and from medical devices to

   consumer products. These types of standards have been around for more than

   a century and are relied upon not only by private industries but also local,

   state, and federal governments.

         Appellee’s reproduction and distribution of Appellants’ copyrighted

   works, purportedly in the interest of transparency and public access to law and

   legal information, violates several exclusive rights granted to copyright

   owners under Section 106 of the Copyright Act. The Copyright Alliance does

   not repeat the fair use arguments made in Appellants’ brief, and so focuses on

   Appellee’s attempt to manufacture a carve-out from copyright protection for

   standards materials, which should fail given the broad rights conferred to

   Appellants by Congress and the Constitution. But creating carve-outs and

   exclusions from copyright protection is the job of the legislature, not private

   lawyers or even the judiciary. Indeed, courts have repeatedly, and correctly,

   rejected prior efforts to find lawyer-created loopholes in these broad rights.

   No basis exists for Appellee to dictate a different outcome.

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         The arguments Appellee makes would unleash dire consequences for

   creators and copyright owners of all stripes. It would open the door for

   commercial actors to exploit others’ hard work and financial investments,

   without seeking permission or contributing to the creative effort, simply by

   fabricating exceptions to the law that do not exist under the proper and rightful

   authority of Congress.

                                   ARGUMENT

   I.    STANDARDS MATERIALS ARE VALUABLE COPYRIGHT-
         PROTECTED   WORKS   THAT   ARE   CRITICALLY
         IMPORTANT TO MANY INDUSTRY SECTORS AND
         GOVERNMENT ENTITIES

         Appellants’ mission is to develop standards across myriad industries in

   pursuit of the incalculable societal benefit derived from helping to ensure

   public health, safety, sustainability, and efficiency through the establishment

   of voluntary consensus-based specifications concerning product and materials

   manufacturing, testing, protocols, and procedures. See Am. Soc’y for Testing

   & Materials v. Public.Resource.org, Inc., 2017 WL 473822, at *2 (D.D.C.

   Feb. 2, 2017) (“ASTM I”); Am. Soc’y for Testing & Materials v.

   Public.Resource.org, Inc., 896 F.3d 437, 441 (D.C. Cir. 2018) (“ASTM II”).

   These works support best practices in numerous professions and safeguard the

   public against health and safety risks associated with innumerable everyday

   products.
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         Appellants create their standards painstakingly, with the input of many

   stakeholders, and at tremendous cost. See ASTM II, 896 F.3d at 441. Some,

   like NFPA’s National Electrical Code (one of more than 300 of their standards

   in the areas of fire, electrical, and building safety), have been in existence for

   more than 100 years. See ASTM I, 2017 WL 473822, at *1. ASTM alone “has

   developed over 12,000 standards” related to consumer products, medical

   services and devices, electronics, construction, petroleum, energy, and water,

   that “are [a result of] the combined efforts of over 23,000 technical members.”

   Id. ASHRAE has created and published more than 100 standards in the areas

   of construction, including with respect to air quality and sustainability. Id.

         Appellants’ standards serve a valuable purpose. While the standards

   Appellants develop typically serve as “voluntary guidelines for self-

   regulation,” the federal government, as well as state and local governments,

   have incorporated many of these guidelines by reference into their laws,

   demonstrating the importance of these works not only to the private industries

   they seek to guide and improve, but to elected officials and their constituents

   around the country. ASTM II, 896 F.3d at 440. For instance, the federal

   government incorporates many of the voluntary standards Appellants draft by

   reference “to achieve several goals, including eliminating the cost to the

   federal government of developing its own standards, encouraging long-term

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   growth for U.S. enterprises, promoting efficiency, competition, and trade, and

   furthering the reliance on private sector expertise.” ASTM I, 2017 WL 473822,

   at *3 (citing 5 U.S.C. § 552). Indeed, in 1995, Congress passed the National

   Technology Transfer and Advancement Act, which states that agencies “use

   technical standards that are developed or adopted by voluntary consensus

   standards bodies, using such technical standards . . . to carry out policy

   objectives or activities . . . .” Pub. L. No. 104- 113, § 12(d)(1), 110 Stat. 775,

   783 (1996).

         This incorporation-by-reference process also shows deference for the

   rights of copyright owners such as Appellants. See, e.g., 79 Fed. Reg. 66267,

   at *66268 (Nov. 7, 2014) (“[W]hen the Federal government references

   copyrighted works, those works should not lose their copyright.”), *66273

   (“[W]e cannot issue regulations that could be interpreted as removing

   copyright protection from IBR’d standards.”). Specifically, legislatures,

   including Congress, do not wholesale copy the text of Appellants’ works, but

   rather direct the readers of applicable statutes or regulations to the proper

   standard by referencing that standard’s unique identifiers so the full text can

   be easily accessed in a lawful manner, see, e.g., ASTM I, 2017 WL 473822, at

   *3; Emily S. Bremer, Incorporation by Reference in an Open-Government

   Age, 36 Harv. J.L. & Pub. Pol’y 131, 143–44, 200–01 (2013), which includes

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   free read-only online access as well as downloadable PDFs and printed

   versions to purchase. See ASTM I, 2017 WL 473822, at *4; Appellants’ Br. at

   3–4, 6, 8–9.

         The widespread adoption, use, and utilization of Appellants’ standards,

   guidelines, and procedures is a testament to their quality and value. However,

   there is a cost to their elaborate development process, and Appellants must

   recoup the cost of creating their valuable works mainly by selling and

   licensing print and PDF copies of their works to those in the applicable

   industries who rely on the standards in their professions. ASTM I, 2017 WL

   473822, at *4, *10–11. These sales allow industry players to obtain physical

   works as well as digital copies that they can use in their business. Anyone,

   including industry players, can also access Appellants’ online “reading

   rooms,” which only offer free read-only access to the standards. Id. at *4.

         Unchecked infringement, such as that engaged in by Appellee,

   threatens Appellants’ ability to control and commercialize their works—

   endangering their ability to earn revenue, fund future projects, and perpetuate

   their mission-driven work. This usurpation of rightsholders’ exclusive rights

   of reproduction and distribution causes harm as it erodes existing markets,

   which runs expressly contrary to the intent of copyright. See Harper & Row

   Publishers, Inc. v. Nation Enters., 471 U.S. 539, 558 (1985) (“[I]t should not

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   be forgotten that the Framers intended copyright itself to be the engine of free

   expression. By establishing a marketable right to the use of one’s expression,

   copyright supplies the economic incentive to create and disseminate ideas.”).

   II.   ONLY CONGRESS IS EMPOWERED TO DECIDE WHETHER
         AND UNDER WHAT CIRCUMSTANCES TO EXPAND
         EXCEPTIONS THAT ALLOW UNAUTHORIZED USE OF
         COPYRIGHTED WORKS

         Appellee is reproducing and distributing online entire copyrighted

   works of the Appellants en masse with no valid legal basis. See Appellants’

   Br. at 2. Worse, it attempts to justify its policy of aggressive reproduction and

   distribution of full-print works in knowing contravention of the Copyright Act

   by claiming that the standards Appellants author, immediately upon

   incorporation by reference, are in their entirety “the law” and thus either are

   unprotected completely under 17 U.S.C. § 102(b) or may be wholesale copied

   and distributed. See id. Appellee does not have the power to make such broad

   unilateral pronouncements about what should and should not be protected by

   the Copyright Act.2




   2
     Even so, Appellee conveniently ignores that Appellants already provide free
   public read-only online access to the same published standards Appellee has
   poached and disregards the harm to the creators of these materials that results
   from its practices, i.e., the cannibalization of Appellants’ print volume sales,
   which are the lifeblood of their self-funded business model. Appellants’ Br.
   at 3–4, 6, 8–9.
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         Only Congress has the authority to expand, contract, or make carveouts

   to the scope of copyrightable works under the Copyright Act or to alter or

   modify statutory exceptions (such as fair use and the first-sale doctrine), or

   the law generally. See, e.g., Eldred v. Ashcroft, 537 U.S. 186, 205 (2003)

   (quoting Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 429

   (1984)) (“[I]t is Congress that has been assigned the task of defining the scope

   of the limited monopoly that should be granted to authors . . . .”); Campbell v.

   Acuff-Rose Music, Inc., 510 U.S. 569, 577 (1994) (explaining Congress’s

   intent in codifying fair use); Stewart v. Abend, 495 U.S. 207, 230 (1990)

   (“Th[e] evolution of the duration of copyright protection tellingly illustrates

   the difficulties Congress faces. . . . [I]t is not our role to alter the delicate

   balance Congress has labored to achieve.”); Graham v. John Deere Co. of

   Kansas City, 383 U.S. 1, 6 (1966) (“Within the limits of the constitutional

   grant, the Congress may, of course, implement the stated purpose of the

   Framers by selecting the policy which in its judgment best effectuates the

   constitutional aim.”); Capitol Recs., LLC v. ReDigi Inc., 910 F.3d 649, 664

   (2d Cir. 2018) (court declining to “substitute [its] judgment for that of

   Congress” regarding the first sale doctrine’s applicability to digital works);

   Ass’n of Am. Publishers, Inc. v. Frosh, 586 F. Supp. 3d 379, 395–96 (D. Md.

   2022) (same).

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         The allocation to Congress of the balancing of rights and exceptions

   surrounding the unauthorized use of copyrighted works is clear from the

   Constitution and the text and history of the Copyright Act itself. See U.S.

   Const., Art. I, § 8, cl. 8 (“Congress shall have Power . . . [t]o promote the

   Progress of Science . . . by securing for limited Times to Authors and

   Inventors the exclusive Right to their respective Writings and Discoveries.”);

   see also 17 U.S.C. §§ 701, 702; Thompson v. Hubbard, 131 U.S. 123, 151

   (1889) (holding that the remedies for infringement “are only those prescribed

   by [C]ongress”); Wheaton v. Peters, 33 U.S. 591, 662–64 (1834) (stating that

   long before the enactment of the Copyright Act, it was settled that the

   protection given to copyrights is wholly statutory and led by Congress);

   Orson, Inc. v. Miramax Film Corp., 189 F.3d 377, 382 (3d Cir. 1999) (stating

   that Congress passed the Copyright Act to protect private rights by

   “implement[ing] a nationally uniform system for the creation and protection

   of rights in a copyrighted work” (citing Goldstein v. California, 412 U.S. 546,

   561 (1973)); Frosh, 586 F. Supp. 3d, at 388–89.

         Congress, in turn, has historically delegated some authority to agencies,

   such as the U.S. Copyright Office, to assist in and advise on striking the

   balance between the limited rights of unlicensed users of copyrighted

   materials and the importance of preserving the exclusive rights of copyright

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   holders. See 17 U.S.C. § 701(b) (directing the Copyright Office to advise

   Congress on issues relating to copyright, provide assistance to federal

   departments regarding matters which relate to copyright, and participate in

   meetings with international and intergovernmental organizations and officials

   on matters relating to copyright); id. § 702 (“The Register of Copyrights is

   authorized to establish regulations not inconsistent with law for the

   administration of the functions and duties made the responsibility of the

   Register under this title.”); U.S. Copyright Office, Compendium of U.S.

   Copyright Office Practices § 101 (3d ed. 2021) (stating that Congress has

   delegated authority to the Copyright Office to develop regulations concerning

   many areas of copyright law).

         Resting these decisions with Congress and its delegates, not the courts

   or any one individual or company, is both intentional and crucial. Congress

   and the Copyright Office have the responsibility and expertise to undertake

   the significant research, review, and (where applicable) notice-and-comment

   periods to determine changes to the law. Appellee is a private non-profit

   entity, not a legislative body and cannot simply make its own rules. Appellee

   also lacks the incentive that Congress has to ensure that the interests of all

   stakeholders and creators are considered, and that precaution is taken to avoid

   harming existing markets for copyrighted works such as Appellants’.

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         The foundational notion of separation of powers makes clear that

   legislative and policy decisions such as what works should be included and

   excluded from copyright protection are squarely in the province of Congress

   and not the courts and cannot be left in the hands of one entity, such as

   Appellee. See U.S. Const., Art. I, § 1 (“All legislative Powers herein granted

   shall be vested in a Congress of the United States . . . .”); Wayman v. Southard,

   23 U.S. 1, 42–43 (1825) (holding that Congress cannot delegate to the Courts,

   or any other tribunals, the powers which are strictly and exclusively

   legislative). Indeed, this Court, in ASTM II, declined to create “sui generis

   caveats to copyright law for incorporated standards.” 896 F.3d at 447. By

   extension, Appellee certainly cannot be the one to determine the format and

   distribution method of a copyright holder’s work without the owner’s

   authority and consent, and cannot decide, on its own, that Appellants’ works

   fall outside the scope of copyright protection and within the realm of public

   law that must be freely available to all.

         As noted above, standards such as Appellants’ works have been around

   for more than a century, and Congress has known about the way such codes

   and standards are created for many years and has had many opportunities,

   through various amendments to the Copyright Act, to say that these works

   should not be protected by copyright. United States v. Fausto, 484 U.S. 439,

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   453 (1988) (“[It] can be strongly presumed that Congress will specifically

   address language on the statute books that it wishes to change.”). But

   Congress has never done so. To the contrary, in the legislative history of the

   1976 revision to the Copyright Act, Congress even stated that privately

   authored works do not lose protection simply because they are published by

   the government. See H.R. REP. 94-1476, 60, 1976 U.S.C.C.A.N. 5659, 5673

   (“Section 8 of the statute now in effect includes a saving clause intended to

   make clear that the copyright protection of a private work is not affected if the

   work is published by the Government.”); Cf. 17 U.S.C. § 105(b). (“[T]he

   covered author of a covered work owns the copyright to that covered work.”).

   Of course, Appellants’ works cannot even be considered published by the

   government when they are merely incorporated by reference.

         Appellee should not be allowed to rewrite the law to eliminate

   Appellants’ copyright protections through its misguided theory that

   Appellants’ privately authored works are equivalent to uncopyrightable public

   laws and thereby freely available for anyone to post, share, download, print,

   and distribute online with impunity.




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                                 CONCLUSION

         For the reasons set forth above, and for those set forth in Appellants’

   brief, the Copyright Alliance, as amicus curiae respectfully requests that the

   Court rule in favor of Appellant.

   Dated:       New York, New York
                October 28, 2022
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                         CERTIFICATE OF COMPLIANCE

         I hereby certify that this brief complies with the type-volume

   limitations of Fed. R. App. P. 32(a)(7)(B) because this brief contains 3,092

   words, excluding the parts of the brief exempted by Fed. R. App. P. 32(f), as

   counted by Microsoft® Word 2007, the word processing software used to

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                                               Dated:       October 28, 2022
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                        CERTIFICATE OF SERVICE

         I hereby certify that on October 28, 2022, I caused the foregoing Brief

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                                          /s/ Nancy E. Wolff
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                                          Dated: October 28, 2022
